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 5
                                UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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      EMPLOYEE PAINTERS’ TRUST, et al.,
                                                              Cause No. MC21-0106RSL
 9
                             Plaintiffs,

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                  v.                                          ORDER DECLINING TO ISSUE
                                                              WRIT OF GARNISHMENT
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      ADRIAN LARA,

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                       Defendant/Judgment Debtor,

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                and

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      NORTH CASCADES BANK,

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                             Garnishee.

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            This matter comes before the Court on plaintiffs’ second “Application for Writ of
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     Garnishment” for a continuing lien on the earnings of Judgment Debtor Adrian Lara. The
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19   underlying judgment in this matter was for $17,055.16, with post-judgment interest accruing at

20   the rate of 0.06% per annum. Dkt. # 1-1. Plaintiffs seek to garnish an additional $5,027.86 in
21   “Taxable Costs and Attorney’s Fees” that have been incurred since the entry of judgment. See
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     Dkt. # 3-2 at 3-4 (“The added fees and costs stem from having multiple discussions with the
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     employer on settlement and from an in-person Judgment Debtor Examination.”). While plaintiffs
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     may have a contractual claim to these fees and costs, they are not part of the underlying
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26   judgment, have not been awarded by any court, and cannot simply be added to defendant’s debt

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     ORDER DECLINING TO ISSUE
28   WRIT OF GARNISHMENT - 1
              Case 2:21-mc-00106-RSL Document 4 Filed 10/27/21 Page 2 of 2



 1   in this proceeding. The fees and costs recoverable here are those incurred in drafting, filing, and
 2   serving the writ of garnishment. The Court again declines to issue the proposed writ.
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 5          Dated this 27th day of October, 2021.
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 7                                              Robert S. Lasnik
                                                United States District Judge
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     ORDER DECLINING TO ISSUE
28   WRIT OF GARNISHMENT - 2
